
646 S.E.2d 115 (2007)
Timothy McKYER
v.
Fontella McKYER.
No. 514P06.
Supreme Court of North Carolina.
May 3, 2007.
Marnite Shuford, for Timothy McKyer.
Billie Ellerbe, Charlotte, for Fontella McKyer.
Prior report: ___ N.C.App. ___, 632 S.E.2d 828.

ORDER
Upon consideration of the petition filed on the 20th day of September 2006 by Plaintiff in this matter for discretionary review of the decision of the North Carolina Court of Appeals pursuant to G.S. 7A-31, the following order was entered and is hereby certified to the North Carolina Court of Appeals:
"Denied by order of the Court in conference, this the 3rd day of May 2007."
Justice HUDSON recused.
